UNITED STATES DISTRICT COURT FOR THE

EASTERN DISTRICT OF NEW YORK

Civil Action No.: 1-24- cv-06845 FB-TM

Devin Haney, Devin Haney Promotions, Inc

CONSENT ORDER STAYING PROCEEDINGS

Plaintiffs,

Ryan Garcia , Dave Honig, John Does :

and Golden Boy Promotions, LLC.

Defendants

The Court having been advised that a tentative settlement has been reached in
the above matter and that to be consummated long form agreements must be
drafted, and the parties having requested a stay of proceedings in order to
attempt to finalize settlement, and for good cause shown:

1. All deadlines in this matter are to be stayed for 90 days from the date of
this Order to allow the parties to attempt to consummate settlement.

2. The parties will submit joint letters to the Court at 30-day intervals from
the date of this Order as to the status of full settlement. If settlement is not
finalized within 90 days from the date of this Order, the parties’ final joint
letter shall provide each party’s position as to how this action should
proceed.

3. If settlement is finalized the parties shall promptly file a stipulation of
dismissal or otherwise inform the Court.

Consented as to form and substance:

S/Patrick C. English, Esq.

Counsel for Devin Haney and Devin Haney Promontions, Inc

S/Reena Jain, Esq.

Counsel For Ryan Garcia

s/Ricardo Cestero

Counsel For Golden Boy Promotions, LLC

s/ Greg Smith

Counsel for Dave Honig

So Ordered onthis__ Day of January, 2025

